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                                                              CIVIL COVER SHEET
JS-44 mev.11/2020DC\
 I.(•) PLAINTIFFS                                                               DEFENDANTS
 Mark Meadows                                                                   Nancy Pelosi, Bennie G. Thompson, Elizabeth L. Cheney,
                                                                                Adam B. Schiff, Jamie B. Raskin, Susan E. Lofgren, Elaine G.
                                                                                Luria, P eter R. Aguilar, Stephanie Murphy, Adam D.
                                                                                Kinzinaer. Select Committee to lnvestiaate the Januarv 6th                                   a
 (b) COUNTY OF RESIDENCEOFFIRSTLlSTED PLAINTIFF           88888                    COUNTYOFRESIOENCEOFFIRSTIJSTEDDEFENDANT
                      (EXCEPT IN U.S. PLAINTIFF CASES)                                                     (IN U.S. PLAINTIFF CASES ONLY)
                                                                                       NOTE: TNL",ND CONDEMNATION CASE'l. USE TI{E LOCATION OF!HE TRACT OF LAND JNVOLVED

 (c) ATTORNEYS (FIRMNAME, ADDRESS, AND TELEPHONE NUMBER)                        ATTORNEYS (IF KNOWN)
George J. Terwilliger Ill
McGuireWoods LLP
888 16th Street NW, Suite 500
Washington, DC 20006

 II. BASIS OF JURISDICTION                                          Ill. CITIZENSHIP OF PRINCIPAL PARTIES (PIACEANxINONEBOXFOR
     (PLACEAN x ill ONE BOX ONLY)                                   PLAINTIFF ANDONEBOXFORDEFENDANI) FORDIVERSTIY CASES ONLY!
                                                                                                PTF        DFT                                                         DFT
 0                           0                                                                                                                              o.
                                                                                                o, o,
                                                                                                                                                            PTF
      1 U.S. Government           3 Federal Queshon
        Plaintiff                  (U.S. Government Not aPa1ty)     Citizen ofthis State                             Incmporated or Principal Place                    O•
                                                                                                                     ofBus:iness in This State
 0    2 US Government
        Defendant
                             0    4 Diversity
                                    (IndicateCitizenship of
                                                                    Citizen ofAnother State     02         02        Inc01pora ted and Princip alPlace
                                                                                                                     of Business in Another State
                                                                                                                                                            Os         o,
                                    Parties in item III)           Citizen or Subject ofa
                                                                   Foreign Country
                                                                                                03         03        Foreign Nation                         06         06
                                             IV. CASE ASSIGNMENT AND NATURE OF SUIT
            (Pface an X in one cateaorv, A-N, that best renresents vom· Cause of Action and one in a corresnond.inl! Nature of Suit)

 0    A. Antitrust         0 B. Personal Injury/                         0     C. Administrative Agency                          0 D. Temporary Restraining
                                     Malpractice                                   Review                                                   Order/Preliminary
 D 410     Antitrwt
                           D 310 Airplane                                D 151 Medicare Act                                                 Injunction
                           D 315 Airplane Product Liability                                                                      Any nature of suit from any category
                           D 320 Assault, Libel & Slander                Social �ecyri!y
                                                                         D                                                       may be selected for this category of
                           D 330 Federal Employers Liability             D
                                                                              861 InA cu9srt)
                                                                              862BlackLung (923)
                                                                                                                                 case assignment.
                           O340Marine
                           D 345Marine Product Liability                 0    863DIWC/DIWW (405(g))                              *(If Antitrusf, then A governs)*
                           D 350Motor Vehicle                            D    864 SSID Title XVI
                           D 355Motor Vehicle Product Liability          0 865RSI (405(g))
                           D 360 Other Personal Injury                   Other Statutes
                                                                         D
                           D 362 Medical Malpractice                     D
                                                                              891 Agricultural Acts
                           D 365 Product LiabilitJ·                      D
                                                                              893 Environmental Matters
                                                                              890 Other Statutory Actions (If
                           D 367Health Care/Pharmaceutical                        Administrative Agency is
                                     Personal Injury Product Liability
                           D 368 Asbestos Product Liability                       Involved)


0 E. General Civil (Other)                                    OR              0 F. Pro Se General Civil
 Real Proger!y                          RanlrnmtJ;y                                 Federal Tax Suib
 O210Land Condemnation                   D 422Appeal 27 USC 158                     D 870 Taxes (US plaintiff or                 D 465 Other Immigi-ation Actions
 D    220 Foreclosure                    D 423 Withdrawal 28 use 157                      defendant)                             D 470 Racketeer Influenced
 O230Rent, Lease & Ejectment                                                        D 871 IRS--Third Party 26USC                       & Con-upt Organization
 D    240 Torts to Land                 Prisoner Petitions                                     7609
                                                                                                                                 D 480 Consumer Credit
 D    245 Tort Product Liability        0 535 Death Penalty                                                                      D 485Telephone C onsumer
 D                                      D 540Mandamus & Other                       Forfeiture/Penaltv
      290 All Other Real Property
                                        D 550 : Civil Rights                        D    625Drug Related Seizure of                    Protection Act (TCPA)
                                        D 555Prison Conditions                               Property 21 USC 881                 D 490 Cable/Satellite TV
 f:ersonal ProgerD::
 D     370 Other Fraud                  D 560 Civil Detainee - Conditions           D    6900ther                                D 850 Securities/Commodities/
 D     371 Truth in Lending                       of Confinement
                                                                                                                                       Exchange
                                                                                                                                 D 896 Arbitration
 D     380 Other Personal Property
                                                                                    Other Statutes
                                                                                    D   375False Oaims Act                       D 899 Adminish·ative Procedure
          Damage                        Propertv Rights
 D     385 Property Damage               D  820 Copyrights                          O376Qui Tom(31 USC                                     Act!Rt!view or Appeal of
                                                                                            3729(,))                                       Agency Decision
                                        O830Patent
           Product Liability
                                         D  835 Patent - Abbreviated New            D   400 State Reapportionment                 D    950 Constitutionality of State
                                                 Drug Application                   D   430Banks & Banking                                 Statutes
                                         D  840 Trademark                           D   450 Commerce/ICC Rates/etc                D    890 Other Statutory Actions
                                         D  880 Defend Trade Secrets Act of         D   460 Deportation                                    (if not administrative agency
                                                2016(DTSA)                          D   462 Naturalization                                 review or Privacy Act)
                                                                                            Application
                       Case 1:21-cv-03217-CJN Document 1-22 Filed 12/08/21 Page 2 of 2


  0 G.          Habeas Corpus/                  0 H.      Employment                             0 I.         FOWPrivacy Act                        0 J.       Student Loan
                2255                                  Discrimination
  D 530 Habeas Corpus - General                  D 442 Civil Rights - Employment                 D 895Freedom of Information Act                    D 152Recovery ofDefaulted
  D 510 Motion/Vacate Sentence                              (criteria: race, gender/sex,         D 890 Other Statutory Actions                                 Student Loan
  D 463 Habeas Corpus -Alien                                national origin,                                  (if Privacy Act)                                 (excluding veterans)
            Detainee                                        discrimination, disability, age,
                                                            religion, retaliation)

                                                ""(If prose, select this deck)*                  '"(If pro se, select this deck)*

  0    K. Labor/ERISA                            0 L. Other Civil Rights                         0 M.          Contract                             0   N. Three-Judge
          (non-employment)                                   (non-employment)                                                                           Court
                                                                                                 D 110 Insurance
  D 710Fair Labor Standards Act                  0441 Voting ("If not Voting Rights              D 120 :Marine                                      D 441 Civil Rights -Voting
  D 720 Labor/Mgmt. Relations                         Act)                                       D 130 Miller Act                                              (if Voting Rights Act)
  D 740Labor Railway Act                         0443 Housing/Accommodations                     D 140 Negotiable Instrument
  D 751 Family and Medical                       [K]440 Other CivilRights                        D 150 Recovery of Overpayment
           Leave Act                             D  445 Americans w/Disabilities -                        & Enforcement of
  D    790 Other Labor Litigation                       Employment                                        Judgment
  D    791 Empl. Ret. Inc. Security Act          D  446 Americans w/Disabilities -               D    153 Recovery of Overpayment
                                                        Other                                             ofVeteran's Benefits
                                                 D  448 Education                                D    160 Stockholder's Suits
                                                                                                 D    190 Other Contract<;
                                                                                                 D    195 Conh·act Product Liability
                                                                                                 D    196Francbise

 V.ORIGIN
 0    1 Original       0 2Removed 0          3 Remanded           0 4 Reinstated 0 5 Transferred               0    6 Multi-dish"ict    0 7 Appeal to             0 8 Multi-district
      Proceeding            from State       from Appellate          or Reopened         from ano ther              Litigation                District Judge         Litigation -
                            Court            Court                                       district (specify)                                   from Mag.              Direct File
                                                                                                                                              Judge

  VI. CAUSE OF ACTION (CITE THE U.S. CIVIL STATUTE UNDER WHICH YOU ARE FILING AND WRITE A BRIEF STATEMENT OF CAUSE.)
   Fed. R. Civ. P. 8 for declaratory and injunctive relief challenging two invalid subpoenas issued by Select Committee
 VII. REQUESTED IN
      COMPLAINT
                                      D ACTIONUNDER.F
                                        CHECKIF TIIISISACLASS
                                                        .R-CP. 23
                                                                                  DEMAND$
                                                                                      JURYDEMAND:
                                                                                                                                       Check YES only if demanded incomplaint
                                                                                                                                       YESLJ ·NoLJ

 VIII. RELATED CASE(S)
       IF ANY
                                              (See instruction)
                                                                                  YES    □                NOW                       _7 please complete related casefonn
                                                                                                                                 � ,,,._
                                                                                                                                                .


            December 8, 2021
                                                                                                          • /"l/Ji;77,I
 DATE:                                          I SIGNATURE OF ATTORNEY OF RECORD


                                                                                                                �-Ir
                                                                                                                                         .,
                                               INSTRUCTIONS FOR COMPLETING CIVIL COVER                                   JS-44
                                                             Authority for Civil Cover Sheet

      Th e JS•44 civil coversheet and the information containedhereinn eitherreplaces nor supplem ents the filings and services of pleadings or other papers as required
by law, except as provided b y local rules o f court. This fonn,approved by the Judicia l Conference of the United States in September 1974,is required for t he useofthe
Cl erk of Court fo r the: purposeofinitiating the civil docket sheet. Consequently, a civil cover sheetis submittedto the Clerk of Court for ea ch civil complaintfiled.
Listed below are tips for completing the civil covershe et. These it ps coincide with the RomanNumerals on the co ver sheet.

           I.          COUNTY OF RESIDENCE OF F1RST LISTED PLAINTIFF/DEFENDANT (b) County ofresidence: Us e 11001 to indic ate plaintiff if resident
                       ofWashington, DC, 88888 if plaintiff is resident ofUnitc:d States but not Washington, DC, and 99999 i fplaintiffis outside the Unit ed States.

           ill         CITIZENSHIP OF PRINCIPAL PARTIES: Th i s section JS completed.Q!UY. if div ersity of citizensh:ql was selected as th e Basis of Jurisdic tion
                       under Section II.

           IV.         CASE ASSIGNMENT AND NATURE OF SIBT: The as signment ofa judge to your casewtll depend on the category you select thatbest
                       represents the� cause of action found in your complaint. Yo u may select only .Qill: category. You m!!fila lso select fill& corresponding
                       nature of suit foundundertbecategory of the case.

           VI.         CAUSE OF ACTION: Cite the U.S. Civil Statuteunder which you are filing and write a brief statementoftheprimary cause.

           VIII.       RELATED CASE(S), IF ANY: If you indicatedthat there is a r elatedcase, youmust complete a relatedcase form, which maybe obtained from
                       the Clerk's Office.

           Because of the needfor accurate andco mpleteinformation,youshould ensure the accuracyofth einfonnat1onprovidedp1io r lo signing the form
